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                                                       DEFENDANTS' EXHIBIT 46

                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                             WESTERN DIVISION


Jenny Lisette Flores, et. al.       )
      Plaintiffi                    )
                                    )
v.                                  )                                   No. CV 85-4544
                                    )
Jeh Johnson, Secretary              )
U.S. Department of                  )
Homeland Security                   )
       Defimdants                   )



                         DECLARATION OF PETER JAQUEZ

 1. I am the Associate Chief Patrol Agent for Specialty Programs and Planning, U.S

     Border Patrol (USBP), U.S. Customs and Border Protection (CSP), in Washington

     D.C. I have held this position since June 2015. I have been a U.S. Border Patrol

     Agent since 1997, and have served in several locations along the southwest border

     (Marfa Sector, El Paso Sector, Tucson Sector, and Yuma Sector) as well as USBP

     HQ.

 2. In my current capacity, I have direct oversight of the U.S. Border Patrol Specialty

     Programs, which includes detention, enforcement, removal and transportation. My

     position includes policy oversight over unaccompanied alien children as well as

     family unit aliens. In this role, I coordinate efforts with both the Department of

     Health and Human Services (HHS) and Immigration and Customs Enforcement,

     Office of Enforcement and Removal Operations (ERO) to ensure the efficient transfer

     of custody from CBP, to HHS and ERO. Other duties include oversight of the horse
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    patrol, canine units, tunnels, and off road vehicles used for operations within the U.S.

    Border Patrol.

 3. I make this declaration on the basis of my own knowledge, as well as the documents

    and information made available to me in my position.

 4. I am aware of a December 5, 2016 request for information (RF!) that was issued to

    the El Paso, Yuma, Tucson and Rio Grande Valley Sectors (collectively, "the

    Sectors,") asking for pictures and videos showing the conditions of children in USBP

    custody. This RF! was issued at my order in response to the request made by the

    judge at the October 6, 2016 hearing. The Sectors were given until December 8, 2016

    to provide the information requested.

 s. I reviewed the photographs and short videos that were provided by the Sectors. I am

    familiar with the conditions that exist at Border Patrol stations at the Sectors depicted,

    and state that the attached video and photographs accurately represent children, and, if

    part of family units, adults, in the actual conditions under which they were held in the

    Sectors during December 5-8, 2016.



    I make this declaration under the penalty of perjury on this 16 day of December 2016.




                                            Peter Jaquez, Associate Chief, USBP
                                            Washington, D.C.




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